           Case 1:05-cv-00563-OWW-SMS Document 7 Filed 08/01/06 Page 1 of 8


 1
 2
 3
 4
 5
 6
                          UNITED STATES DISTRICT COURT
 7
                                 EASTERN DISTRICT OF CALIFORNIA
 8
 9   BENITO FEBRE,                                     CV F 05 563 REC SMS P
10                          Plaintiff,
                                                       ORDER DISMISSING COMPLAINT WITH
11          v.                                         LEAVE TO AMEND (Doc. 1.)
12
     GEO GROUP INC., et. al.,
13
                            Defendants.
14                                                 /
15
            Benito Febre (“Plaintiff”) is a federal prisoner proceeding pro se and in forma pauperis in
16
     this civil action. Plaintiff seeks relief pursuant to Bivens v. Six Unknown Named Agents of
17
     Federal Bureau of Narcotics, 403 U.S. 388 (1971), which provides a remedy for violation of civil
18
     rights by federal actors. Plaintiff filed the instant action on April 27, 2006, naming the Geo
19
     Group Inc., Warden Andrews, Asst. Mgr., J. Pendleton, Health Administrator Greaziak,
20
     Spokesperson Terry Craig, Dr. Johnathan Akanno, Chaplain Maurseth, Disciplinary Hearing
21
     Officer Bianco, and Counselor Robert Joyner as Defendants.
22
     A. SCREENING REQUIREMENT
23
            The court is required to screen complaints brought by prisoners seeking relief against a
24
     governmental entity or officer or employee of a governmental entity. 28 U.S.C. § 1915A(a). The
25
     court must dismiss a complaint or portion thereof if the prisoner has raised claims that are legally
26
     “frivolous or malicious,” that fail to state a claim upon which relief may be granted, or that seek
27
     monetary relief from a defendant who is immune from such relief. 28 U.S.C. § 1915A(b)(1),(2).
28

                                                       1
            Case 1:05-cv-00563-OWW-SMS Document 7 Filed 08/01/06 Page 2 of 8


 1   “Notwithstanding any filing fee, or any portion thereof, that may have been paid, the court shall
 2   dismiss the case at any time if the court determines that . . . the action or appeal . . . fails to state a
 3   claim upon which relief may be granted.” 28 U.S.C. § 1915(e)(2)(B)(ii).
 4           A complaint, or portion thereof, should only be dismissed for failure to state a claim upon
 5   which relief may be granted if it appears beyond doubt that plaintiff can prove no set of facts in
 6   support of the claim or claims that would entitle him to relief. See Hishon v. King & Spalding,
 7   467 U.S. 69, 73 (1984), citing Conley v. Gibson, 355 U.S. 41, 45-46 (1957); see also Palmer v.
 8   Roosevelt Lake Log Owners Ass'n, 651 F.2d 1289, 1294 (9th Cir. 1981). In reviewing a
 9   complaint under this standard, the court must accept as true the allegations of the complaint in
10   question, Hospital Bldg. Co. v. Rex Hospital Trustees, 425 U.S. 738, 740 (1976), construe the
11   pleading in the light most favorable to the plaintiff, and resolve all doubts in the plaintiff's favor.
12   Jenkins v. McKeithen, 395 U.S. 411, 421 (1969).
13   B. SUMMARY OF COMPLAINT
14           Plaintiff alleges that Defendant’s failed to scheduled him for a particular surgical
15   procedure in violation of his Eighth Amendment Rights. Plaintiff also contends that he has been
16   unconstitutionally denied a religious diet in violation of his First Amendment rights. Plaintiff
17   also complains that a previously scheduled legal telephone call was missed and that this caused
18   him to use the institutional phone system which was monitored. Plaintiff requested that the time
19   spent on the institutional phone call not be counted against his monthly allotted minutes
20   designated for family, however, his request was denied. Plaintiff contends this violated his
21   access to the Courts.
22           The Complaint further alleges that Plaintiff has been denied equal protection during a
23   disciplinary hearing, makes an allegation of conspiracy and accessory after the fact, and contends
24   that Plaintiff has lost sleep which is the basis of the Intentional Infliction of Emotional Distress.
25   Plaintiff also lists Respondeat Superior as a basis for his Complaint.
26   C. CLAIMS FOR RELIEF
27           1. Eighth Amendment Medical
28           A prisoner’s claim of inadequate medical care does not constitute cruel and unusual

                                                         2
              Case 1:05-cv-00563-OWW-SMS Document 7 Filed 08/01/06 Page 3 of 8


 1   punishment unless the mistreatment rises to the level of “deliberate indifference to serious
 2   medical needs.” Estelle v. Gamble, 429 U.S. 97, 106 (1976). The “deliberate indifference”
 3   standard involves an objective and a subjective prong. First, the alleged deprivation must be, in
 4   objective terms, “sufficiently serious.” Farmer v. Brennan, 511 U.S. 825, 834 (1994) (citing
 5   Wilson v. Seiter, 501 U.S. 294, 298 (1991)). Second, the prison official must act with a
 6   “sufficiently culpable state of mind,” which entails more than mere negligence, but less than
 7   conduct undertaken for the very purpose of causing harm. Farmer v. Brennan, 511 U.S. at 837.
 8   A prison official does not act in a deliberately indifferent manner unless the official “knows of
 9   and disregards an excessive risk to inmate health or safety.” Id.
10            In applying this standard, the Ninth Circuit has held that before it can be said that a
11   prisoner’s civil rights have been abridged, “the indifference to his medical needs must be
12   substantial. Mere ‘indifference,’ ‘negligence,’ or ‘medical malpractice’ will not support this
13   cause of action.” Broughton v. Cutter Laboratories, 622 F.2d 458, 460 (9th Cir. 1980), citing
14   Estelle, 429 U.S. at 105-06. “[A] complaint that a physician has been negligent in diagnosing or
15   treating a medical condition does not state a valid claim of medical mistreatment under the
16   Eighth Amendment. Medical malpractice does not become a constitutional violation merely
17   because the victim is a prisoner.” Estelle v. Gamble, 429 U.S. at 106; see also Anderson v.
18   County of Kern, 45 F.3d 1310, 1316 (9th Cir. 1995); McGuckin v. Smith, 974 F.2d 1050, 1050
19   (9th Cir. 1992), overruled on other grounds, WMX Techs., Inc. v. Miller, 104 F.3d 1133, 1136
20   (9th Cir. 1997) (en banc). Even gross negligence is insufficient to establish deliberate
21   indifference to serious medical needs. See Wood v. Housewright, 900 F.2d 1332, 1334 (9th Cir.
22   1990).
23            In this case, Plaintiff’s Complaint alleges that Defendants have violated his Eighth
24   Amendment rights because they failed to schedule him for a recommended surgery by an outside
25   Orthopedic Specialist. Plaintiff’s allegations, however, fail to state a claim. As noted in the
26   Complaint, an outside Doctor recommended that Plaintiff undergo a particular surgical procedure
27   for his hand, however, Defendant Dr. Akanno determined that such procedure was medically
28   unnecessary. "A difference of opinion between a prisoner-patient and prison medical authorities

                                                        3
            Case 1:05-cv-00563-OWW-SMS Document 7 Filed 08/01/06 Page 4 of 8


 1   regarding treatment does not give rise to as 1983 claim." Franklin v. Oregon, 662 F.2d 1337,
 2   1344 (9th Cir.1981) (internal citation omitted). To prevail, plaintiff "must show that the course
 3   of treatment the doctors chose was medically unacceptable under the circumstances ... and ... that
 4   they chose this course in conscious disregard of an excessive risk to plaintiff's health." Jackson v.
 5   McIntosh, 90 F.3d 330, 332 (9th Cir.1986) (internal citations omitted).
 6           In this instance, Plaintiff has not alleged any facts that would support a claim that
 7   Defendant Parkinson "[knew] of and disregard[ed] an excessive risk to [plaintiff's] health or
 8   safety." Farmer v. Brennan, 511 U.S. at 837. Plaintiff's allegations indicate a disagreement with
 9   the course of treatment chosen by Defendant Dr. Akanno for Plaintiff's condition. This is an
10   insufficient basis upon which to impose liability under Section 1983.
11           2. Access to Courts
12           The Ninth Circuit has held that “[p]risoners have a First Amendment right to telephone
13   access subject to reasonable security interests. Keenan v. Hall, 83 F.3d 1083, 1092 (9th Cir.
14   1996) (citing Strandberg v. City of Helena, 791 F.2d 744, 747 (9th Cir. 1986.)); Carlo v. City of
15   Chino, 105 F.3d 493, 496 (9th Cir. 1997); Henry v. County of Shasta, 132 F.3d 512, 519 (9th Cir.
16   1997.) Certain limitations or restrictions on telephone access can amount to a denial of an
17   inmate’s right under the due process clause of the Fourteenth Amendment, but only if they
18   interfere with an inmate’s access to the Courts.
19           Inmates have a fundamental constitutional right of access to the courts. Lewis v. Casey,
20   518 U.S. 343, 346 (1996). The right of access is merely the right to bring to court a grievance the
21   inmate wishes to present, and is limited to direct criminal appeals, habeas petitions, and civil
22   rights actions. Id. at 354. The State is not required to enable the inmate to discover grievances
23   or to litigate effectively once in court. Id.
24           The facts alleged in Plaintiff’s complaint do not demonstrate a due process violation or a
25   violation of Plaintiff’s first amendment rights. Plaintiff concedes that he was able to speak with
26   his attorney but that he was forced to use the institutional telephone system which is monitored
27   by staff due to a scheduling error and of his own accord. Plaintiff further complains that the use
28   of the institutional telephone system for legal purposes was counted against his allotted monthly

                                                        4
           Case 1:05-cv-00563-OWW-SMS Document 7 Filed 08/01/06 Page 5 of 8


 1   minutes but that the institution refused to credit him. Plaintiff does not allege a denial of the use
 2   of the telephone for legal purposes nor does he allege facts that would indicate a denial of access
 3   to the courts. As such, on the facts alleged, Plaintiff fails to state a cognizable claim for relief
 4   under the Due Process clause or the First Amendment.
 5           3. First Amendment - Religious Diet
 6           The First Amendment to the United States Constitution provides that Congress shall
 7   make no law respecting the establishment of religion, or prohibiting the free exercise thereof.
 8   U.S. Const., amend. I. The United States Supreme Court has held that prisoners retain their First
 9   Amendment rights, including the right to free exercise of religion. O'Lone v. Estate of Shabazz,
10   482 U.S. 342, 348 (1987). The Court has also recognized that limitations on a prisoner’s free
11   exercise rights arise from both the fact of incarceration and from valid penological objectives.
12   Id.; McElyea v. Babbit, 833 F. 2d 196, 197 (9th Cir. 1987).
13           Prison regulations alleged to infringe on the religious exercise right must be evaluated
14   under the “reasonableness” test set forth in Turner v. Safley, 482 U.S. 78, 89-91 (1987). O’Lone,
15   382 U.S. at 349; Freeman v. Arpaio,125 F.3d 732, 736 (9th Cir. 1997) (recognizing that the
16   United States Supreme Court’s recent decision in City of Boerne v. P.F. Flores, 521 U.S. 507
17   (1997), invalidated the Religious Freedom Restoration Act and restored the “reasonableness test”
18   as the applicable standard in free exercise challenges brought by prison inmates).
19           Plaintiff alleges that he is a devout practitioner of the Islamic Faith but that he has been
20   denied a Kosher diet. Plaintiff concedes that when he requested that he be taken off the mainline
21   because pork was being served, the Chaplain informed him that the only diet available to Islamic
22   inmates was a meatless alternative diet. Plaintiff, however, preferred the Kosher diet which, he
23   was told, was limited to those inmates practicing the Jewish religion.
24           The Court finds that Plaintiff’s allegations fail to state a claim under the First
25   Amendment. The facts alleged that Plaintiff’s religious dietary needs were accommodated but
26   that Plaintiff preferred a different diet for unknown reasons. That Plaintiff was denied a diet of
27   his choice does not give rise to a constitutional violation under the First Amendment.
28           4. Equal Protection

                                                        5
             Case 1:05-cv-00563-OWW-SMS Document 7 Filed 08/01/06 Page 6 of 8


 1           Equal protection claims arise when a charge is made that similarly situated individuals are
 2   treated differently without a rational relationship to a legitimate state purpose. See San Antonio
 3   School District v. Rodriguez, 411 U.S. 1 (1972). In order to state a § 1983 claim based on a
 4   violation of the equal protection clause of the Fourteenth Amendment, a plaintiff must show that
 5   defendants acted with intentional discrimination against plaintiff or against a class of inmates
 6   which included plaintiff. Village of Willowbrook v. Olech, 528 U.S. 562, 564 (2000) (equal
 7   protection claims may be brought by a “class of one”); Reese v. Jefferson Sch. Dist. No. 14J, 208
 8   F.3d 736, 740 (9th Cir. 2000); Barren v. Harrington, 152 F.3d 1193, 1194 (9th Cir. 1998); Federal
 9   Deposit Ins. Corp. v. Henderson, 940 F.2d 465, 471 (9th Cir. 1991); Lowe v. City of Monrovia,
10   775 F.2d 998, 1010 (9th Cir. 1985). “A plaintiff must allege facts, not simply conclusions, that
11   show that an individual was personally involved in the deprivation of his civil rights.” Barren at
12   1194.
13           Although plaintiff alleges defendants violated the Equal Protection Clause of the
14   Fourteenth Amendment, Plaintiff has alleged no specific facts demonstrating that any of the
15   named Defendants acted with intentional discrimination against Plaintiff. Plaintiff’s allegation
16   concerns a disciplinary hearing, however, Plaintiff appears to be unhappy with events that
17   occurred during the hearing itself concerning how his witnesses were treated. However, such
18   facts do not give rise to constitutional claim under the Equal Protection clause of the constitution.
19           5. Conspiracy
20           In the context of conspiracy claims brought pursuant to section 1983, such a complaint
21   must “allege [some] facts to support the existence of a conspiracy among the defendants.”
22   Buckey v. County of Los Angeles, 968 F.2d 791, 794 (9th Cir. 1992); Karim-Panahi v. Los
23   Angeles Police Department, 839 F.2d 621, 626 (9th Cir. 1988). Plaintiff must allege that
24   defendants conspired or acted jointly in concert and that some overt act was done in furtherance
25   of the conspiracy. Sykes v. State of California, 497 F.2d 197, 200 (9th Cir. 1974).
26           In this instance, Plaintiff makes a conclusory allegation that Defendants conspired to
27   violate his Equal Protection rights. However, Plaintiff provides no facts concerning what
28   occurred that constituted a conspiracy. Further, Plaintiff fails to link any of the named

                                                      6
            Case 1:05-cv-00563-OWW-SMS Document 7 Filed 08/01/06 Page 7 of 8


 1   Defendants to an act or omission giving rise to such a conspiracy. Accordingly, Plaintiff fails to
 2   state a claim for relief.
 3           6. Intentional Infliction of Emotional Distress
 4           Under California law, the elements of intentional infliction of emotional distress are: (1)
 5   extreme and outrageous conduct by the defendant with the intention of causing, or reckless
 6   disregard of the probability of causing, emotional distress; (2) the plaintiff’s suffering severe or
 7   extreme emotional distress; and (3) actual and proximate causation of the emotional distress by
 8   defendant’s outrageous conduct. Sabow v. United States, 93 F.3d 1445, 1454 (9th Cir. 1996)
 9   (citing Christensen v. Superior Court, 54 Cal.3d 868 (1991)) (quotations omitted).
10           Here, other than the conclusory allegation that he suffered emotional distress, Plaintiff
11   provides no facts giving rise to a claim for Intentional Infliction of Emotional Distress.
12           7. Respondeat Superior
13           Supervisory personnel cannot be held liable in a Bivens action for the actions of their
14   employees under a theory of respondeat superior. Terrell v. Brewer, 935 F.2d 1015, 1018 (9th
15   Cir. 1991). Accordingly, Plaintiff fails to state a claim on this basis.
16           8. Proper Defendant
17           Plaintiff names the Geo Group as a Defendant in this action. A Bivens cause of action is
18   not available against private entities, see Correctional Services Corp. v. Malesko, 534 U.S. 61,
19   71-72, 122 S.Ct. 515 (2001), or federal agencies, see FDIC v. Meyer, 510 U.S. 471, 486, 114
20   S.Ct. 996 (1994).
21   D. CONCLUSION
22           The Court finds that Plaintiff’s complaint does not contain any claims upon which relief
23   can be granted under § 1983 against any of the Defendants. The Court will provide Plaintiff with
24   time to file an Amended Complaint curing the deficiencies identified above should he wish to do
25   so.
26           Plaintiff must demonstrate in the Amended Complaint how the conditions complained of
27   resulted in a deprivation of his constitutional rights. See, Ellis v. Cassidy, 625 F.2d 227 (9th Cir.
28   1980). The Amended Complaint must specifically state how each Defendant is involved.

                                                       7
           Case 1:05-cv-00563-OWW-SMS Document 7 Filed 08/01/06 Page 8 of 8


 1   Further, there can be no liability under 42 U.S.C. § 1983 unless there is some affirmative link or
 2   connection between a defendant’s actions and the claimed deprivation. Rizzo v. Goode, 423,
 3   U.S. 362 (1976); May v. Enomoto, 633 F.2d 164, 167 (9th Cir. 1980); Johnson v. Duffy, 588
 4   F.2d 740, 743 (9th Cir. 1978).
 5            Finally, Plaintiff is advised that Local Rule 15-220 requires that an Amended Complaint
 6   be complete in itself without reference to any prior pleading. As a general rule, an Amended
 7   Complaint supersedes the original complaint. See Loux v. Rhay, 375 F.2d 55, 57 (9th Cir.
 8   1967). Once an Amended Complaint is filed, the original Complaint no longer serves any
 9   function in the case. Therefore, in an Amended Complaint, as in an original Complaint, each
10   claim and the involvement of each defendant must be sufficiently alleged. The Amended
11   Complaint should be clearly and boldly titled “AMENDED COMPLAINT,” reference the
12   appropriate case number, and be an original signed under penalty of perjury.
13   E. ORDER
14            The Court HEREBY ORDERS:
15            1.      The Clerk of Court is DIRECTED to SEND Plaintiff a blank civil rights
16                    complaint form;
17            2.      The Complaint is DISMISSED with leave to amend. WITHIN THIRTY (30) days
18                    from the date of service of this order, Plaintiff SHALL:
19                    a.     File an Amended Complaint curing the deficiencies identified by the Court
20                           in this Order, or
21                    b.     Notify the Court in writing that he does not wish to file an Amended
22                           Complaint and pursue the action but instead wishes to voluntary dismiss
23                           the case.
24            Plaintiff is forewarned that his failure to comply with this Order may result in a
25   Recommendation that the Complaint be dismissed pursuant to Local Rule 11-110.
26   IT IS SO ORDERED.
27   Dated:        July 28, 2006                        /s/ Sandra M. Snyder
     icido3                                      UNITED STATES MAGISTRATE JUDGE
28

                                                        8
